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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                   :    No. 3:17CR220(JAM)
                                           :
     v.                                    :
                                           :
ANDRE FLOTRON                              :    March 26, 2018


                   GOVERNMENT’S PROPOSED VOIR DIRE

    The United States submits the following proposed questions for jury
    selection:

 1. Do you, your relatives, or close friends, to the best of your knowledge, know
    the defendant in this case, Andre Flotron?

          a. If so, how do you, your family member, or friend know the defendant?

          b. Would that relationship prevent you from rendering a fair verdict
             based solely on the evidence brought out at trial?

 2. Do you, your relatives, or close friends, to the best of your knowledge, know
    any of the defense attorneys in this case, professionally or personally? If so,
    would that relationship affect your ability to render a fair and impartial
    verdict in this case?

 3. Do you, your relatives, or close friends, to the best of your knowledge, know
    the Assistant United States Attorney prosecuting this case, Avi Perry, or
    any of the Department of Justice attorneys prosecuting this case, Robert Zink,
    Michael Rinaldi, and Matthew Sullivan?

 4. The following attorneys, in addition to Mr. Perry, and John H. Durham,
    who is the United States Attorney, are Assistant United States Attorneys
    in the U.S. Attorney’s Office for the District of Connecticut who handle
    federal criminal prosecutions and all civil cases in which the United States is
    involved:

    Vanessa Avery
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Patrick F. Caruso
Harold H. Chen
Heather L. Cherry
Lauren Clark
Patricia Collins
Natalie N. Elicker
Jonathan N. Francis
Natasha Freismuth
Nancy V. Gifford
Sandra S. Glover
Brenda M. Green
Michael J. Gustafson
H. Gordon Hall
David T. Huang
John B. Hughes
Carolyn A. Ikari
Peter S. Jongbloed
Rahul Kale
Jocelyn Kaoutzanis
Anthony E. Kaplan
Sarah P. Karwan
Anastasia M. King
Henry K. Kopel
Jennifer R. Laraia
John W. Larson
Brian P. Leaming
Peter D. Markle
Michelle McConaghy
Michael S. McGarry
Raymond F. Miller
Richard M. Molot
Douglas P. Morabito
Ndidi Moses
Sarala Nagala
William J. Nardini
Lauren M. Nash
David C. Nelson
David E. Novick
Neeraj Patel
John T. Pierpont
Alina P. Reynolds
Stephen B. Reynolds
Vanessa Richards
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      Jacabed Rodriguez-Coss
      Christopher W. Schmeisser
      Christine L. Sciarrino
      David J. Sheldon
      Marc Silverman
      Deborah R. Slater
      Alan M. Soloway
      Jessica Soufer
      Robert M. Spector
      Geoffrey M. Stone
      David X. Sullivan
      Anne Thidemann
      Julie G. Turbert
      S. Dave Vatti
      Joseph Vizcarrondo
      Susan L. Wines

   Do you, your relatives, or close friends, to the best of your knowledge, know
   any of these individuals professionally or socially?

5. Do you, your relatives, or close friends, to the best of your knowledge, know the
   FBI agents investigating this case, Special Agents Jonathan Luca and Michael
   Savona?

6. During the course of the trial you may hear from or about the following
   witnesses and individuals:

       Roger Boehler
       Kar-Hoe (Mike) Chan
       Hovannes Dermenchyan
       Daniel Driscoll
       Jonathan Eddy
       Alexander Gerko
       John Huth
       William Ishmael
       Wolfgang Kajewski
       Ralph Klonowski
       Francis Koh
       David Liew
       Jonathan Luca
       Michael Meier
       Thomas Mulroy
       Raymond Ng
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       James Oates
       Niall O’Riordan
       Christian Pfeiffer
       Lisa B. Pinheiro
       Samantha Slattery
       Sergio Soler
       Anand Twells
       Jessica Volchko
       Lai Yuk-Nyen

   Do you know any of these individuals professionally or socially?

7. Have any of you read or heard any publicity, news, or other information
   relating to this trial?

      a. Is there anything that you have read or heard that has caused you to
         form an opinion in this case as to the guilt or innocence of the defendant or
         that might influence your ability to be a fair and impartial juror and
         deliberate solely on the evidence presented at trial?

      b. Do any of you have any personal knowledge of the facts in this case other
         than what you have heard in this courtroom today?

8. Do you have any strong opinions about the criminal justice system that could
   affect your ability to serve as a juror in this case?

9. Federal law enforcement agents or officers may testify in this case. Do you believe
   that the testimony of a government law enforcement agent or employee is
   entitled to any greater weight than any other witness simply because he is a
   law enforcement officer?

10. Do you believe that the testimony of a federal law enforcement agent or officer
    is entitled to less weight than any other witness?

11. The government may call as witnesses Special Agents with the Federal Bureau of
    Investigation. Do you harbor any ill feelings or have any negative opinions
    about the Federal Bureau of Investigation?
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12. Have any of you had any disputes with the federal government, or with any
    state or local government, concerning a legal matter such as social security
    benefits, veteran’s benefits, a dispute over taxes, or any other matter?

      a. If so, what was the nature of the dispute and which agency or
         governmental entity was involved?

      b. Is there anything about your dispute with that governmental entity that
         might influence your ability to be a fair and impartial juror and
         deliberate solely on the evidence presented at trial?

13. Have you, any member of your family, or a close friend ever been involved in
    any civil suit or case involving the United States Government, or with any
    state or local government?

14. Have any of you had any legal or law enforcement training? If so:

      a. What kind of training?

      b. Would that training affect your ability to follow the court’s instructions
         on the law that should be applied in this case?

15. Do any of you have immediate relatives or close friends who are law
    enforcement officers or employed by a division of law enforcement, whether it
    be on the federal, state, or local level? If so:

      a. Who?

      b. When were they employed?

      c. With what agency?

      d. Is your family member, or friend still so employed? If not, why did your
         family member or friend leave that job?

16. Have any of you, a close friend, or relative, ever been employed by the federal
    government or by any state or local government? If so:

      a. Who?
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       b. When were they employed?

       c. With what agency?

       d. Are you, your family member, or friend still so employed? If not, why did
          you, your family member, or friend leave that job?

17. Do any of you have immediate relatives or close friends who are lawyers or law
    students?

18. Have any of you ever served on a jury, federal or state, before? If so:

       a. Was it a criminal or civil case?

       b. If a criminal case, without telling us the result, were you able to reach a
          verdict in that case?

19. Have any of you, or close friends or relatives, ever been charged with, convicted
    of, or investigated concerning a criminal offense, other than minor traffic
    violations? If so:

       a. Who was the person investigated or charged with the offense?

       b. How long ago?

       c. What was the nature of the offense?

       d. If there were criminal charges, what happened after the charges were
          brought?

       e. Would that experience prevent you from rendering a fair and impartial
          verdict based solely on the evidence in this case?

20. This case involves a charge that the defendant conspired to commit
    commodities fraud so that he and others could make illicit profits or avoid
    losses. Have any of you, either personally or through a close friend or family
    member, had any experiences that would make it difficult for you to be
    impartial in judging a case involving the offense charged?
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21. Have you, or close friends or relatives, ever been employed in or associated with
    any commodities, securities, investment advisory, or financial services
    business? If so:

      a. Who?

      b. Where?

      c. In what capacity?

      d. For how long?

      e. Is the person still so employed or associated and, if not, why not?

22. Have you, or close friends or relatives, ever been employed by or associated
    with UBS AG or any of its subsidiaries or affiliates? If so:

      a. Who?

      b. Where?

      c. In what capacity?

      d. For how long?

      e. Is the person still so employed or associated and, if not, why not?

23. Have you, or close friends or relatives, ever engaged in commodities trading,
    either personally or through a broker or other professional? If so:

      a. Who?

      b. Which commodities or types of commodities?

      c. Did you personally engage in the transactions, or were they done by a
         broker or other professional?

24. Would you tend to excuse or overlook a criminal offense if you believed it was
    committed for motives, reasons, or purposes with which you are sympathetic?

25. Would you be able to follow the Court’s instructions on the law in this case and
    remain impartial even if you thought the law should be interpreted differently?
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26. If the United States proves its case beyond a reasonable doubt, do you have
    any reason—morally, philosophically, or ethically—why you would not convict
    the defendant?

27. Some people have religious views that prevent them from voting as jurors and
    in effect being a judge over another person. Do you have any religious or other
    beliefs that would affect your ability to deliberate or find the defendant in this
    case guilty or not guilty of the charge against him?

28. The law requires that you base your verdict on the facts as you find them to be
    from the evidence presented at trial. The law does not permit you to consider
    any emotions such as sympathy, prejudice, vengeance, fear, or hostility. Do any
    of you believe you cannot put these emotions out of your mind while listening
    to the evidence in this case or when you are deliberating toward reaching a
    verdict?

29. Your duty as jurors is to judge guilt or innocence based on the evidence. It is
    my duty to determine punishment if you vote guilty. The law does not permit
    you to consider the issue of punishment because there are other factors which
    have nothing to do with this trial which will determine the lenience or
    harshness of a sentence. Would you vote “Not Guilty” merely because this
    crime may result in a prison sentence even though you do not know whether it
    will or not?

30. Is there any reason why any of you, if chosen to sit as a juror, could not render
    a fair and impartial verdict in this case based solely on the evidence presented
    and the law as the Court will instruct at the conclusion of this case?

31. Do any of you anticipate that the duration of this trial would cause any severe
    hardship or difficulty for you because of your employment, family
    circumstances, health, or other reasons?

32. Do you have any physical or medical problems that would make it difficult for
    you to sit as a juror?

33. Does anyone have difficulty reading or understanding the English language?

34. If selected as a juror, you will be instructed that you must not communicate
    with or provide any information to anyone by any means about this case. You
    may not use any electronic device or media, such as the telephone, a cell phone,
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   smart phone, iPhone, Blackberry or computer, the Internet, any Internet
   service, any text or instant messaging service, any Internet chat room, blog, or
   website such as Facebook, MySpace, LinkedIn, YouTube, or Twitter, to
   communicate to anyone information about this case or to conduct any research
   about this case. In other words, you cannot talk to anyone on the phone,
   correspond with anyone, or electronically communicate with jurors during
   deliberations.

   Further, you may not use these electronic means to investigate or communicate
   about this case because it is important that you decide this case based solely
   on the evidence presented in this courtroom. Information on the Internet or
   available through social media might be wrong, incomplete, or inaccurate. A
   juror is permitted to discuss the case with his or her fellow jurors only during
   deliberations. In our judicial system, it is important that you are not influenced
   by anything or anyone outside of this courtroom. Otherwise, your decision may
   be based on information known only by you and not your fellow jurors or the
   parties in the case. This would unfairly and adversely impact the judicial
   process. Does anyone feel they would be unable to abide by these instructions?

35. Do you understand that despite what may be implied or dramatized in movies
    or television programs related to law enforcement such as CSI or Law & Order,
    there is no legal requirement that the government use any specific
    investigative techniques to prove its case? Would you be able to follow an
    instruction from the Court that your duty is to determine whether, based on
    the evidence that is presented, the defendant’s guilt has been proved beyond a
    reasonable doubt?

36. Is there anything about the nature of the charge in this case which would
    prevent you from being fair and impartial to either side?
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37. Is there any other information that you feel is relevant to your role as juror in
    this particular case?

                                 Respectfully submitted,

                                 JOHN H. DURHAM
                                 UNITED STATES ATTORNEY


                                 AVI M. PERRY
                                 ASSISTANT UNITED STATES ATTORNEY
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                                 SANDRA MOSER
                                 Acting Chief, Fraud Section
                                 U.S. Department of Justice

                                 s/ Michael J. Rinaldi
                                 Robert Zink
                                 Acting Principal Deputy Chief
                                 Michael J. Rinaldi
                                 Matthew F. Sullivan
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                              CERTIFICATE OF SERVICE

      I hereby certify that on March 26, 2018, a copy of the Government’s Proposed

Voir Dire was filed electronically. Notice of this filing will be sent by e-mail to all

parties by operation of the Court’s electronic filing system. Parties may access this

filing through the Court’s system.



                                         s/ Michael J. Rinaldi
                                         MICHAEL J. RINALDI
                                         TRIAL ATTORNEY
